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                                     CIV. A. NO. 20-3460

    EXHIBITS INTRODUCED IN GOVERNMENT DEFENDANTS’ 1 MOTION TO DISMISS THE SECOND
      AMENDED COMPLAINT, OR IN THE ALTERNATIVE FOR PARTIAL SUMMARY JUDGMENT

    Ex.                                         Description
    A     Complaint (ECF 1) in Page v. Oath, 1:17-cv-6990-LGS (S.D.N.Y)
     B    Complaint (ECF 1) in Page v. U.S. Dep’t of Justice, 1:19-cv-03149-KBJ (D.D.C)
     C    Press Release by Senate Select Committee on Intelligence (1/13/2017)
    D     Plaintiff’s Letter to the Senate Select Committee on Intelligence (3/8/2017)
     E    Press Release by the House Permanent Select Committee on Intelligence (3/1/2017)
     F    The Washington Post article “FBI obtained FISA warrant to monitor former Trump
          adviser Carter Page” (4/11/2017)
    G     The New York Times article, “Comey Tried to Shield the F.B.I. From Politics. Then He
          Shaped An Election.” (4/22/2017)
          Combined CNN Transcripts, New Day, Trump’s Tax Cut Wish List Sparks Fiery
    H     Reactions From Both Sides Aisles; Interview with Sen. Ben Cardin; Do Trump’s Tax
          Cuts Boost the Economy?; United Airlines Announces Major Changes After Flight
          Fiasco; Former Trump Adviser Carter Page on New Day (4/27/2017)
     I    House Permanent Select Committee on Intelligence Hearing Transcript (11/2/2017)
     J    House Permanent Select Committee on Intelligence Majority Staff Memo (“Nunes
          Memo”) (1/18/2018) (declassified on 2/2/2018)
    K     Sen. Charles Grassley Request to Declassify Senate Judiciary Committee’s Jan.4, 2018
          Referral of Christopher Steele to FBI and DOJ (2/2/2018)
     L    Redacted Jan. 4, 2018 Grassley-Graham Referral
    M     Plaintiff’s Twitter Statement (2/2/2018)
    N     House Permanent Select Committee on Intelligence Redacted Minority Memorandum
          (“Schiff Memo”) (1/29/2018) (declassified 2/24/2018)
    O     Corrected Opinion and Order, In Re Accuracy Concerns Regarding FBI Matters
          Submitted to the FISC, No. 19-02 (FISC Mar. 5, 2020)
     P    Opinion and Order Regarding Use and Disclosure of Information, In Re Carter W.
          Page, a U.S. Person, Nos. 16-1182, 17-52, 17-375, 17-679 (FISC June 25, 2020)
    Q     Notice of Potential Use and Disclosure of FISA Information, In Re Carter W. Page, a
          U.S. Person, Nos. 16-1182, 17-0052, 17-0375, 17-0679 (FISC Nov. 3, 2020)
     R    Order Regarding Further Disclosures of Information, In Re Carter W. Page, a U.S.
          Person, Nos. 16-1182, 17-52, 17-375, 17-679 (FISC Nov. 23, 2020)

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  The Government Defendants are the Department of Justice, the Federal Bureau of
Investigation, and the United States of America.
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